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                              APPENDIX
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK


NEW YORK STATE RIFLE AND PISTOL
ASSOCIATION, INC. and ROBERT NASH,

                             Plaintiffs,
                                                        Civil Action No.
       v.                                               1:18-CV-0134 (BKS/ATB)

GEORGE P. BEACH II, in his official capacity as
Superintendent of the New York State Police and
RICHARD J. MCNALLY, in his official capacity
as Justice of the New York State Supreme Court,
Third Judicial District, and Licensing Officer for
Rensselaer County,

                             Defendants.



                         APPENDIX OF HISTORICAL GUN LAWS
                    OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY


ILAAN M. MAAZEL                                      ERIC TIRSCHWELL
O. ANDREW F. WILSON                                  MARK ANTHONY FRASSETTO
EMERY CELLI                                          EVERYTOWN FOR GUN SAFETY
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April 2, 2018                                        Counsel for Amicus Curiae
                                                     Everytown for Gun Safety
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